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           ORDERED in the Southern District of Florida on October 29, 2024.




                                                           Laurel M. Isicoff, Judge
                                                           United States Bankruptcy Court
___________________________________________________________________________




                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                              MIAMI DIVISION
                                              www.flsb.uscourts.gov

           In re:
                                                            Chapter 11
           SHIFTPIXY, INC.

                 Debtor.                                    Case No. 24-21209-LMI
           ___________________________/

           In re:                                           Chapter 11

           SHIFTPIXY STAFFING, INC.

                 Debtor.                                    Case No. 24-21212-CLC
           ___________________________/

           In re:                                           Chapter 11

           RETHINK HUMAN CAPITAL
           MANAGEMENT, INC.

                    Debtor.                                 Case No. 24-21214-CLC

           ___________________________/
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        ORDER (I) DIRECTING JOINT ADMINISTRATION OF THE DEBTORS’
        RELATED CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

        Upon the motion (the “Motion”) [ECF No. 5] of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) for entry of an order (this “Order”), (a)

directing joint administration of the Debtors’ related chapter 11 cases, and (b) granting related

relief, all as more fully set forth in the Motion; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order

consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Debtors’ notice of the Motion was appropriate under the circumstances and

no other notice need be provided; and this Court having reviewed the Motion; and this Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is hereby

         ORDERED:

         1.      The Motion is GRANTED, as set forth herein.

         2.      The above-captioned chapter 11 cases are consolidated for procedural

 purposes only and shall be jointly administered by this Court under Case No. 24-21209-

 LMI.
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          3.       The caption of the jointly administered cases shall read as follows:


                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                      www.flsb.uscourts.gov

                                                         )
In re:                                                   )
                                                         )    Chapter 11
SHIFTPIXY, INC., et al.1                                 )
                                                         )    Case No. 24-21209-LMI
                                                         )
                            Debtors.                     )    (Jointly Administered)
                                                         )
1
    The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
     Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.

          4.       The foregoing caption satisfies the requirements set forth in section 342(c)(1)

of the Bankruptcy Code.

          5.       An entry shall be made on the docket of each case that is substantially similar

to the following:

                   An order has been entered in accordance with Rule 1015(b) of
                   the Federal Rules of Bankruptcy Procedure directing the joint
                   administration of the chapter 11 cases of: Shiftpixy, Inc., Case
                   No. 24-21209-LMI; Shiftpixy Staffing, Inc., Case No. 24-
                   21212-CLC; and ReThink Human Capital Management, Inc.,
                   Case No. 24-24-21214-CLC. All further pleadings and other
                   papers shall be filed in, and all further docket entries shall
                   be made in, Case No. 24-21209-LMI.

          6.       One consolidated docket, one file, and one consolidated service list shall be

maintained by the Debtors and kept by the Clerk of the Bankruptcy Court with the

assistance of the notice and claims agent retained by the Debtors in these chapter 11 cases,

if applicable.

          7.       Nothing contained in the Motion or this Order shall be deemed or construed
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as directing or otherwise effecting a substantive consolidation of these chapter 11 cases and

this Order shall be without prejudice to the rights of the Debtors to seek entry of an order

substantively consolidating their respective cases.

       8.      The Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

       9.      This Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.

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Submitted by:
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[Attorney Marcushamer, Esq. is directed to serve a copy of this order on interested parties who
do not receive service by CM/ECF within 3 days of entry of this Order and file a certificate of
service with the Court.]
